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                                                  State of New Jersey
                                             OFFICE OF THE ATTORNEY GENERAL
PHILIP D. MURPHY                          DEPARTMENT OF LAW AND PUBLIC SAFETY                                     MATTHEW J. PLATKIN
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TAHESHA L. WAY                                     TRENTON, NJ 08625                                             JEREMY M. FEIGENBAUM
  Lt. Governor                                                                                                       Solicitor General



                                                   February 25, 2025
      Via ECF
      The Honorable Zahid N. Quraishi, U.S.D.J.
      United States District Court for the District of New Jersey
      Clarkson S. Fisher Building & U.S. Courthouse
      402 East State Street
      Trenton, NJ 08608

                 Re:   Nat’l Shooting Sports Foundation v. Platkin
                       Docket No. 3:22-cv-06646-ZNQ-TJB

      Dear Judge Quraishi:

             This office represents Defendant Matthew J. Platkin in the above-listed case.
      Pursuant to the Court’s February 13, 2025 docket entry, the State’s opposition to
      Plaintiff’s motion to reopen the case and for leave to amend the complaint (ECF No.
      36) is currently due on March 3, 2025. We write to respectfully request that the
      deadline for the State’s brief be extended to March 10, 2025, to ensure that our office
      has sufficient time to finalize its brief in light of the competing responsibilities of
      the attorneys handling this case. Counsel for Plaintiff has consented to this request.

            If the foregoing is acceptable with Your Honor, we respectfully request that
      the Court “So Order” this letter in the space indicated below. Thank you very much
      for your kind consideration of this request.




                           HUGHES JUSTICE COMPLEX ∙ TELEPHONE: (862) 350-5800 FAX: (609) 292-3508
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                               Respectfully submitted,
                               MATTHEW J. PLATKIN
                               ATTORNEY GENERAL OF NEW JERSEY

                               By: /s/ Tim Sheehan
                               Tim Sheehan
                               Deputy Attorney General


  SO ORDERED
  s/ Zahid N. Quraishi
  ZAHID N. QURAISHI
  UNITED STATES DISTRICT JUDGE
  DATED: 02/26/2025
